Case 2:23-mj-00154-CW Document1 Filed 01/17/23 Page 1 of 3

FILED
January 17, 2023

LERK, U.S. DISTRICT COURT

DR-23-M-154 |

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AO 442 (Rev O19) Arrest Warrant ee et LA EST Pe? EP WESTERN DISTRICT OF TEXAS
._ MG CIENEGA
UNITED STATES DISTRICT COURT “~~~ evurv
for the meg a *, yee
United States of America )
JUAN ANGELES-CHAVEZ, Case No.
oe 1 9-20014-CR-ALTONAGA/GOO DMAN
Defendant 5

ARREST WARRANT

To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

{name of person to be arrested) JUAN ANGELES-CHAVEZ _— -?
who is accused of an offense or violation based on the following document filed with the court:

@ indictment CG} Superseding Indictment D Information © Superseding Information © Complaint
© Probation Violation Petition © Supervised Release Violation Petition © Violation Notice © Order of the Court

This offense is briefly described as follows:
(legal Reentry after Removal, in violation of Title 8, United States Code, Section 1326(a).

 

Yosenia Rodriguez.

 

 

 

 
    

   

 

 

 

Jan 14, 2019.
issuing 9, ‘S signoiure
City and state: _Miaml, FL Angela E. Noble, Clerk of Court / Court Administrator
Printed name ond title
Return

 

 

This me was reged . ‘x 1-10-14" _, and the person was arregt
al (city and state) .
Date: \ -|"- Ad _ - -

 

“""" Printed name and title ”

 

 

 

 
Case 2:23-mj-00154-CW Document1 Filed 01/17/23 Page 2 of 3

 

 

 

D.C.
‘ DR-23-M-154 FILED by __¥e —
Jan 10, 2019
UNITED STATES DISTRICT COURT ANSE & NOBLE.
SOUTHERN DISTRICT OF FLORIDA $.0. OF FLA. - MIAMI
case no.19-20014-C R-ALTONAGA/GOODMAN
8 U.S.C. § 1326(a) FILED

January 17, 2023

UNITED STATES OF AMERICA
CLERK, U.S. DISTRICT COURT

 

 

vs. R WESTERN DISTRICT OF TEXAS
23; MG CIENEGA
JUAN ANGELES-CHAVEZ, I oP y py DEPUTY
N ew
Defendant. Sy fae. oy us
/ .
INDICTMENT 80,
. . JSG q Ve
The Grand Jury charges that: Sp WV) 5 2
L

On of about November 20, 2018, in Miami-Dade County, in the Southiy piso
Florida, the defendant, on
JUAN ANGELES-CHAVEZ,
an alien, having previously becn ccmoved and deported from the United States on or about
March 22, 2013, was found to be in the United States, knowingly and unlawfully, without the
Attorney Gencral of the United States or his successor, the Secretary of Homeland Security

(Title 6, United States Code, Sections 202(3), 202(4), and 557), having expressly consented to

such alien’s reapplying for admission to the United States, in violation of Title 8, United States

Code, Section 1326(a).

A TRUE BILL

Co FORTPERSON

   
    

 

ARIANA FAJARDO ORSHA
TATES ATTORNEY

 

MONICA V. ATKINS
SPECIAL ASSISTANT UNITED STATES ATTORNEY

 
Case 2:23-mj-00154-CW Document1 Filed 01/17/23 Page 3 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant’s Name: JUAN ANGELES-CHAVEZ

Case No:

 

Count #: 1

Mlegal Reentry after Removal

Title 8, United States Code, Section 1326(a)
*Max. Penalty; 2 Years’ Imprisonment

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

ee

 

 

 
